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                       IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA

JANE DOE,                                     :
                                              :
                              Plaintiff,      :   Civil Action No.
               v.                             :
                                              :   No. 2:19-cv-05925-ER
MCDONALD’S USA, LLC, and                      :
TANWAY ENTERPRISES, L.P.,                     :
                                              :
                               Defendants.

                      DEFENDANT TANWAY ENTERPRISES, L.P.’S
            BRIEF IN SUPPORT OF ITS MOTION FOR SUMMARY JUDGMENT

       I.      PRELIMINARY STATEMENT

       Plaintiff Tamiah Marcellus claims that she was sexually harassed by Darnell Penn, a

former shift manager for Defendant Tanway Enterprises, L.P. (“Tanway”), while he interviewed

her for a role as a part-time crew member in one of Tanway’s restaurants. Based on this

incident, Ms. Marcellus makes claims of hostile work environment and quid pro quo sexual

harassment in violation of Title VII, the Pennsylvania Human Relations Act (“PHRA”) and the

Philadelphia Fair Practices Ordinance (“PFPO”), and a tort claim of negligent hiring, training,

and supervision. Plaintiff’s hostile work environment claim fails for two fundamental reasons:

1) Plaintiff was never a Tanway employee and thus could not have suffered a hostile work

environment; and 2) Plaintiff cannot establish respondeat superior liability, as this Court

previously held, because Mr. Penn’s actions were not taken within the scope of his employment.

Plaintiff’s quid pro quo sexual harassment claim is similarly flawed as Plaintiff herself admits

there was no quid pro quo – she was offered the job that she was seeking, without strings

attached. Finally, Plaintiff is unable to support her claim of negligent training and supervision as

there are no facts in the record suggesting that Tanway either knew or should have known that

Mr. Penn had a propensity for sexual harassment. In fact, all of the record evidence shows that
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Tanway behaved reasonably as a matter of law, including with respect to the training and

supervision of Mr. Penn. In short, each of Plaintiff’s claims fail for fundamental reasons and

Tanway is entitled to summary judgment on all counts.

       II.     FACTUAL AND PROCEDURAL BACKGROUND

       Tanway is owned and operated by Tanya Holliday. Ex. A (Holliday dep.) at 19:3-4.

Tanway currently owns twelve franchise restaurants in the Philadelphia area, including the store

located at 7500 City Avenue in Philadelphia, where Plaintiff sought employment.          Ex. A

(Holliday dep.) at 20:3-11.

       Due to the nature of the fast-food restaurant business, Tanway is continually looking to

bring on new crew members. Ex. B (Hill dep.) at 66:5-19. For crew members, Tanway’s hiring

process consists of at least one interview conducted by a store manager. Ex. B (Hill dep.) at

66:20-67:8. Although shift managers are permitted to conduct interviews, they do not possess

authority to making hiring decisions. Ex. B (Hill dep.) at 67:13-21; Ex. C (Williams dep.) at

67:20-68:2, 107:8-11; Ex. A (Holliday dep.) at 54:1-55:10.

       After the interview process is complete and a store manager has offered a candidate a

role, orientation is scheduled. Ex. A (Holliday dep.) at 47:13-48:14. Orientation is considered

the first day of employment. Ex. B (Hill dep.) at 68:13-21, 69:10-21; Ex. A (Holliday dep.) at

49:1-9, 52:14-53:9. At orientation, new employees are given the employee handbook and other

relevant Tanway policies, and required to provide Tanway the appropriate identification for

employment eligibility verification purposes and complete payroll and hiring-related paperwork.

Ex. B (Hill dep.) at 70:5-17; Ex. A (Holliday dep.) at 47:13-49:9; 52:14-19

       Tanway has a zero tolerance policy for discrimination and sexual harassment in the

workplace. Ex. A (Holliday dep.) at 71:4-74:23; Ex. D (Zero Tolerance Policy Regarding

Discrimination and Sexual Harassment). Tanway has a fulsome investigation process that is

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triggered upon any allegations of inappropriate conduct, such as sexual harassment. Tanway’s

investigation process includes removing the employee accused of misconduct from the

workplace, interviewing the alleged victim and any appropriate witnesses, and reviewing any

relevant security footage. Ex. C (Williams dep.) at 60:14-61:20; Ex. B (Hill dep.) at 44:5-45:8;

Ex. A (Holliday dep.) at 81:24-83:12.

Mr. Penn’s hiring at Tanway

       Dawn Williams, Tanway’s Director of Operations, and another supervisor interviewed

Darnell Penn for the shift manager role on two occasions and required him to perform an on-the-

job evaluation. Ex. C (Williams dep.) at 63:1-12. Before offering Mr. Penn the job, Ms.

Williams also called and spoke with two of Mr. Penn’s references, including his then-current

employer. Ex. C (Williams dep.) at 63:17-64:9. Both references provided extremely positive

feedback regarding Mr. Penn. Id. Mr. Penn was formally offered the role of shift manager on

January 23, 2018 and he began working for Tanway on January 24, 2018. Ex. C (Williams dep.)

at 66:9-14. Mr. Penn received and signed off on Tanway’s sexual harassment policy. Ex. E

(Crew Awareness Orientation Form).

       As a shift manager, Mr. Penn’s primary job duty was to ensure the effective operation of

the restaurant during his scheduled shift. Ex. C (Williams dep.) at 66:18-67:16. Mr. Penn did

not have authority to hire or fire crew members. Ex. C (Williams dep.) at 67:20-68:2. It was

within Mr. Penn’s role as a shift manager to conduct hiring interviews and make

recommendations to the store manager. Id.; Id. at 107:8-11; Ex. B (Hill dep.) at 67:13-21.

       There are no allegations of wrongdoing or misconduct by Mr. Penn of any kind prior to

those raised by Plaintiff in relation to her interview with Tanway on April 12, 2018. Ex. B (Hill

dep.) at 56:13-58:11, 63:8-11; Ex. A (Holliday dep.) at 102:5-10.



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Plaintiff’s interview at Tanway

       On April 12, 2018, Plaintiff was interviewed by Mr. Penn for a role as a crew member.

Second Amended Complaint (Doc. 34) at ¶ 36. Mr. Penn interviewed Plaintiff at a table in the

restaurant, within view of anyone passing by or using the drink station. Ex. F (T. Marcellus

dep.) at 42:14-43:5. Mr. Penn began the interview by asking Plaintiff typical interview questions

and then he offered her the job. Ex. F (T. Marcellus dep.) at 36:8-19, 44:15-25, 115:9-13. Mr.

Penn advised Plaintiff that she should return to the restaurant the following Sunday to provide a

copy of her birth certificate and photo identification and then at that point she could begin

employee training. Ex. F (T. Marcellus dep.) at 40:3-9, 44:15-45:13, 50:12-21.

       After offering Plaintiff the job, Mr. Penn asked to view Plaintiff’s phone. Ex. F (T.

Marcellus dep.) at 114:14-115:15. After Mr. Penn reviewed Plaintiff’s phone, Plaintiff alleges

that Mr. Penn showed her a number of photos on his phone, including several of nude women.

Ex. F (T. Marcellus dep.) at 39:5-17. Plaintiff also alleges that Mr. Penn asked her to undo a

second button on her shirt, which she declined to do, and that he asked her questions about her

boyfriend. Ex. F (T. Marcellus dep.) at 45:18-47:3, 117:6-16. Mr. Penn never suggested that

Plaintiff’s offer of employment would be rescinded or that the job offer was contingent upon her

cooperation with his conduct. Ex. F (T. Marcellus dep.) at 116:21-117:5.

       After the interview, Plaintiff was no longer interested in working for Tanway. Ex. F (T.

Marcellus dep.) at 61:16-25. To be clear, Plaintiff never went through Tanway’s new employee

orientation, never filled out any of Tanway’s hiring paperwork, never performed work for

Tanway, never received a paycheck, and was never provided with Tanway’s employee

handbook. Ex. F (T. Marcellus dep.) at 119:22-120:20.




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Mr. Penn’s termination

       Mr. Penn’s employment with Tanway was terminated for leaving his shift early on the

date of the alleged incident with Plaintiff and for failing to appear for his next few scheduled

shifts. Ex. G (Disciplinary Action Form); Ex. B (Hill dep.) at 73:7-17, 75:8-19.

       Plaintiff contacted the local police about Mr. Penn’s conduct the same day of the

interview. Ex. F (T. Marcellus dep.) at 54:2-23. Plaintiff did not report the alleged harassment

to anyone at Tanway. Ex. F (T. Marcellus dep.) at 58:23-59:18. In fact, Tanway did not learn of

Plaintiff’s allegations until twelve days after the alleged incident when a police officer contacted

Tanway as part of the police investigation. Ex. A (Holliday dep.) at 102:12-24; Ex. C (Williams

dep.) at 82:24-84:9. Upon learning of the allegations, Tanway investigated in accord with its

normal process. Ex. C (Williams dep.) at 90:16-98:8. However, because the allegations were

not brought to their attention until nearly two weeks later when Mr. Penn’s employment had

already been terminated, Tanway was not able to question him about the allegations. Ex. A

(Holliday dep.) at 104:15-23, 112:9-22.

       Plaintiff’s Second Amended Complaint, filed May 28, 2020, is the operative pleading,

which Tanway now seeks to have dismissed in its entirety. (Doc. 34).

       III.    SUMMARY JUDGMENT STANDARD

       Summary judgment shall be granted “if the movant shows that there is no genuine issue

as to any material fact and the movant is entitled to judgment as a matter of law.” Fed. R. Civ. P.

56(a). A factual dispute is genuine if a reasonable jury could return a verdict for the non-movant,

and it is material if, under the substantive law, it would affect the outcome of the suit. Anderson

v. Liberty Lobby Inc., 477 U.S. 242, 248 (1986).

       If the moving party meets this initial burden, the non-moving party “cannot rely on

unsupported allegations, but must go beyond pleadings and provide some evidence that would

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show that there exists a genuine issue for trial.” Jones v. United Parcel Serv., 214 F.3d 402, 407

(3d Cir. 2000). See also Fireman’s Ins. Co. v. DuFresne, 676 F.2d 965, 969 (3d Cir. 1982) (a

party opposing summary judgment may not rely upon bare assertions, conclusory allegations, or

mere suspicions). To successfully oppose entry of summary judgment, the non-moving party

must designate specific factual averments through the use of affidavits or other permissible

evidentiary material that demonstrate a triable factual dispute. Celotex Corp. v. Catrett, 477 U.S.

317, 324 (1986); Anderson, 477 U.S. at 247-50. Such evidence must be sufficient to support a

jury’s factual determination in favor of the non-moving party. Evidence that merely raises some

metaphysical doubt regarding the validity of a material fact is insufficient to satisfy the non-

moving party’s burden. Matsushita Elec. Indus. Co., Ltd. v. Zenith Radio Corp., 475 U.S. 574,

586 (1986). Further, “[i]t is well settled that only evidence which is admissible at trial may be

considered in ruling on a motion for summary judgment.” Countryside Oil Co., Inc. v. Travelers

Ins. Co., 928 F.Supp. 474, 482 (D.N.J. 1995). See also Fed. R. Civ. P. 56(c)(2).

       IV.     ARGUMENT

               A.     Plaintiff fails to state a prima facie case of hostile work environment
                      under Title VII, the PHRA, or the PFPO.

       The elements of a prima facie case of hostile work environment sexual harassment under

Title VII, the PHRA, and the PFPO are: “(1) the employee suffered intentional discrimination [in

a work environment] because of [his or her] sex; (2) the discrimination was pervasive and

regular; (3) the discrimination detrimentally affected the plaintiff; (4) the discrimination would

detrimentally affect a reasonable person of the same sex in that position; and (5) the existence

of respondeat superior liability.” Bonenberger v. Plymouth Township, 132 F.3d 20, 25 (3d Cir.




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1997) (quoting Andrews v. City of Philadelphia, 895 F.2d 1469, 1482 (3d Cir. 1990)).1

        Here, Plaintiff cannot establish that she suffered discrimination in a work environment

because she was not an employee at the time of the alleged harassment, which occurred

exclusively during the job interview. Courts in this District have considered this exact situation

and held that harassment during an interview, as Plaintiff alleges here, cannot serve as the basis

for a hostile work environment claim. Moore v. Penn. Dept. Military & Veterans Affairs, 216 F.

Supp. 2d 446, 449 (E.D. Pa. 2002) (dismissing a hostile work environment claim where the

alleged harassment occurred during plaintiff’s job interview on the basis that “plaintiff was not at

the time of the alleged assault an employee and thus could not have been exposed to a hostile

workplace”); see also Katchur v. Thomas Jefferson Univ., 354 F. Supp. 3d 655, 664 (E.D. Pa.

2019) (applying the same principle to a claim of a hostile educational environment and

dismissing plaintiff’s claim where the alleged harassment occurred during an admissions

interview).

        Put another way: hostile work environment claims may be brought against a plaintiff’s

employer only. Suri v. Foxx, 69 F. Supp. 3d 467, 476 (D.N.J. 2014); Wassman v. City of Dana

Point, 2018 WL 5906346 at *6 (C.D. Cal. July 2, 2018) (“[A] hostile work environment claim

does not lie where the plaintiff is an applicant but not an employee.”); Sanders v. City and

County of Honolulu, 2021 WL 3376821 at *2 (D. Haw. Aug. 3, 2021) (dismissing job applicant’s

hostile work environment claim on the grounds that “a non-employee ‘will not, as a matter of

law, be able to show that any alleged harassment altered the conditions of her employment.’”);

see also 42 U.S.C. § 2000e(f) (defining “employee” as “an individual employed by an

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         Claims brought under the PFPO and the PHRA have been interpreted in a similar fashion to claims brought
under Title VII. See e.g. Ahern v. Eresearch Technology, Inc., 183 F. Supp. 3d 663, 668 (E.D. Pa. 2016); Dici v.
Commw. Pa., 91 F.3d 542, 552 (3d Cir.1996) (the PHRA is applied in a similar manner as Title VII); see also
Joseph v. Cont'l Airlines, Inc., 126 F.Supp.2d 373, 376 n. 3 (E.D.Pa.2000) (analysis of a claim under Title VII
applies in equal force to the PFPO).

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employer”). Cases brought by interns and volunteers are useful here insofar as they make clear

that whether someone is an “employee” hinges on compensation. See Payne v. Prevention Point

Philadelphia, Inc., 2021 WL 2414606 (E.D. Pa. 2012) (“[R]emuneration is a threshold

requirement to qualify as an employee under Title VII.”); Cimino v. Borough of Dunmore, 2005

WL 3488419 (M.D. Pa. 2005) (dismissing plaintiff’s Title VII claims where she received no

direct or indirect compensation from the defendant).

       Plaintiff’s hostile work environment claim fails for the simple reason that she was never a

Tanway employee. Plaintiff admits that she never filled out any Tanway hiring paperwork, she

never appeared for new employee orientation, she never performed any work, and she never

received any compensation. Ex. F (T. Marcellus dep) at 120:9-20. Tanya Holliday, Tanway’s

owner/operator, testified at length about Tanway’s hiring process and that employment starts

when the applicant shows up for orientation, completes their hiring paperwork, and is entered

into Tanway’s payroll system. See, e.g.: Ex. A (Holliday dep.) at 47:13-49:9; 52:14-19. This

process makes practical sense given Tanway’s business and work force, where offers are

frequently extended to candidates who never show up for orientation. Id. at 49:1-9.

       In addition, Plaintiff cannot establish a prima facie case of hostile work environment as

she cannot establish respondeat superior liability. Mr. Penn’s actions were plainly not within the

scope of his employment and there is no record evidence suggesting that he had authority,

apparent or otherwise, to engage in sexually harassing conduct. This issue was argued in

Tanway’s briefing in support its Motion to Dismiss the Second Amended Complaint. See Doc.

37 (Tanway’s Motion to Dismiss Second Amended Complaint) at 5-7. That argument is

incorporated by reference here.




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       This Court found in Tanway’s favor on this issue when it held that:

               Doe fails to state an IIED claim against Tanway because she cannot
               plausibly allege that Penn’s conduct occurred within the scope of his
               employment. While conducting interviews may well have been part of
               Penn’s job, the Second Amended Complaint fails to plausibly allege that
               the particular conduct at issue—i.e., showing Doe sexually graphic
               photographs on his cellphone—is conduct that Penn was “employed to
               perform” or that was “actuated, at least in part, by a purpose to serve”
               Tanway. See id.; see also Bissett v. Verizon Wireless, 401 F. Supp. 3d
               487, 495 (M.D. Pa. 2019) (“[T]here is no conceivable explanation as to
               why the conduct giving rise to this case would serve [the defendant's]
               business.”). Because Doe fails to plausibly allege that Penn's conduct
               occurred within the scope of his employment, she cannot hold Tanway
               vicariously liable.

Doc. 47 (Opinion Granting Motion to Dismiss) at 5-6.

       This reasoning is all the more compelling now. The case law of this Circuit is quite clear

that there is no hostile work environment liability without respondeat superior liability. See, e.g.,

Bonenberger, 132 F.3d at 25. Plaintiff has not adduced any evidence in discovery to support a

theory that Mr. Penn was acting within the scope of his employment or that he had authority to

engage in the alleged misconduct. To be clear, Tanway has a zero tolerance policy for any kind

of harassment or discrimination, further evidencing that Mr. Penn’s alleged actions were well-

outside of the scope of his employment. Ex. D; see, e.g., Sabo v. Lifequest, Inc., 1996 WL

583169 at * (E.D. Pa. Oct. 8, 1996) (rejecting an apparent authority theory of respondeat

superior where the plaintiff failed to adduce any evidence that the alleged harassment was

company policy). For these reasons, Plaintiff cannot establish a prima facie case of hostile work

environment and summary judgment on that claim is appropriate.

               B.      Plaintiff fails to satisfy the elements for a quid pro quo claim of sexual
                       harassment under Title VII, the PHRA, or the PFPO.

       The elements of a claim for quid pro quo sexual harassment require that the offer of

employment is either implicitly or explicitly conditioned on submission to the advances.


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Bonenberger, 132 F.3d at 28 (citing Robinson v. City of Pittsburgh, 120 F.3d 1286, 1296 (3d Cir.

1997)). A quid pro quo harassment claim requires “a direct conditioning of job benefits upon an

employee’s submitting to sexual blackmail, or the consideration of sexual criteria in work

evaluations.” Lee v. Gecewicz, 1999 WL 320918 (E.D. Pa. 1999). “Liability under Title VII for

quid pro quo sexual harassment exists only if ‘the consequences attached to an employee’s

response to the sexual advances [are] sufficiently severe to alter the employee’s compensation,

terms, conditions, or privileges of employment.’” Emmanuella Cherisme v. AIDS Care Group,

2016 WL 3997237 at *3 (E.D. Pa. July 26, 2016) (quoting Bonenberger, 132 F.3d at 28).

       Plaintiff was clear at her deposition that she was offered the job and then Mr. Penn

engaged in the inappropriate conduct. Ex. F (T. Marcellus dep.) at 115:9-13. Plaintiff admits that

there was no suggestion from Mr. Penn that he would rescind the job offer if Plaintiff did not go

along with looking at his phone. Id. at 116:21-117:5. Plaintiff also admitted she told Mr. Penn

she was uncomfortable at one point and he never indicated that he was going to rescind the job

offer or that her submission to his advances was a contingency upon the job offer. Id. (“Q: Did

Mr. Penn ever suggest that he would take back the job offer if you didn’t look at the photos on

his phone? A: No. He never said anything about taking the job offer back.”). Based on

Plaintiff’s own testimony, there was no direct conditioning of the job offer upon Plaintiff’s

submission to Mr. Penn’s advances, as is required to make out a claim under a quid pro quo

theory. See, e.g., Bonenberger, 132 F.3d at 28. Because there is no such causation between the

harassment and any adverse employment action, Plaintiff’s claim for quid pro quo sexual

harassment should be dismissed.

               C.     Plaintiff fails to state a claim for negligent training and supervision.

       A plaintiff seeking to recover on a negligent supervision and/or negligent training theory

must show that his loss resulted from: “(1) a failure to exercise ordinary care to prevent an

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intentional harm by an employee acting outside the scope of his employment; (2) that is

committed on the employer's premises; (3) when the employer knows or has reason to know of

the necessity and ability to control the employee.” Belmont v. MB Inv. Partners, 708 F.3d 470,

487–88 (3rd Cir. 2013) (citing Dempsey v. Walso Bureau, Inc., 431 Pa. 562, 565, 246 A.2d 418,

420 (1968)). Under this standard, the employee’s prior behavior must put the employer on notice

that it must control the employee. See Heller v. Patwil Homes, Inc., 713 A.2d 105, 108

(Pa.Super.Ct.1998) (noting that an employee's prior behavior must indicate a propensity to cause

the harm in question and that the employer must know or have reason to know about such prior

behavior). “An employer can only be liable for negligent supervision if it knew, or should have

known, that ‘the employee ha[d] dangerous propensities that might cause harm to a third party.’”

Court. v. Loews Philadelphia Hotel, Inc., No. CV 16-4848, 2017 WL 569522, at *4 (E.D. Pa.

Feb. 13, 2017).

       There are no facts in the record to support a claim that Tanway knew or should have

known that Mr. Penn had a propensity for sexual harassment. To the contrary, Tanway did its

due diligence before hiring Mr. Penn by interviewing him twice, requiring him to perform an on-

the-job evaluation, and checking his references. Ex. C (Williams dep.) at 63:1-12. Ms. Williams

personally spoke to two references, including a manager at Chick-Fil-A where Mr. Penn was

working at the time, and both references spoke very highly of Mr. Penn. Ex. C (Williams dep.)

at 63:17-64:9. After he began his employment at Tanway, there were no complaints about Mr.

Penn prior to the issue with Plaintiff. Ex. B (Hill dep.) at 56:13-58:11, 63:8-11; Ex. A (Holliday

dep.) at 102:5-10.

       There is simply no record evidence to indicate that Tanway was on notice of any risk

posed by employing Mr. Penn, let alone the sort of serious risk required to support a claim of



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negligent training and supervision liability. The law does not require Tanway to be omniscient or

clairvoyant, only to exercise reasonable care, which it did when it interviewed Mr. Penn, checked

his references, and trained him on appropriate workplace conduct. Ex. C (Williams dep.) at

63:1-64:9; Ex D. To impute the alleged actions of Mr. Penn to Tanway would create a strict

liability standard which holds an employer responsible for all intentional torts performed by all

of its employees during the course of their workday, no matter how outrageous or unrelated to

the employer’s business interests. This impossibly-high standard is without basis in the relevant

statutes and binding precedent, and would cripple employers in ceaseless litigation. For that

reason, summary judgment should be granted on this count.

       V.     CONCLUSION

       Plaintiff’s claims against Tanway are not supported by either fact or law and,

accordingly, Tanway is entitled to summary judgment on all counts.

                                                 RESPECTFULLY SUBMITTED,
                                                 /s/ Danielle M. Goebel
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